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EXHIBIT
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                                                                                 U.S. Department of Justice
                                                                                 Civil Rights Division
                                                                                 NOTICE OF RIGHT
                                                                                     WITHIN      TO SUE
                                                                                            90 DAYS

C E R T I F I E D MAIL
                                                                                          950 Pennsylvania Avenue, N.W.
                                                                                          Karen Ferguson . EMP. PHB. Room 4239
2012 4 5 4 7                                                                              Washington. DC 20530
                                                                                          A u g u s t 27,    2013
Ms. K e l l y S. Hespe
c/o D a n i e l Q. H e r b e r t , E s q u i r e
Law O f f i c e of D a n i e l Q. Herbert& A s s o c s .
206 S. J e f f e r s o n
S u i t e 100
Chicago, I L 60661

Re:    EEOC Charge A g a i n s t C i t y of Chicago P o l i c e Dept.
        No. 4 4 0 2 0 1 3 0 2 8 0 6

D e a r Ms.    Hespe:

            B e c a u s e y o u f i l e d t h e a b o v e c h a r g e w i t h t h e E q u a l Employment
O p p o r t u n i t y Commission, and t h e Commission h a s d e t e r m i n e d t h a t i t w i l l not
be a b l e t o i n v e s t i g a t e a n d c o n c i l i a t e t h a t c h a r g e w i t h i n 180 d a y s o f t h e
d a t e t h e Commission assumed j u r i s d i c t i o n o v e r t h e c h a r g e and t h e
Department has d e t e r m i n e d t h a t i t w i l l not f i l e any l a w s u i t ( s ) based
t h e r e o n w i t h i n t h a t time, and b e c a u s e you t h r o u g h y o u r a t t o r n e y have
s p e c i f i c a l l y r e q u e s t e d t h i s N o t i c e , y o u a r e h e r e b y n o t i f i e d t h a t you h a v e
the r i g h t t o i n s t i t u t e a c i v i l a c t i o n under T i t l e V I I of the C i v i l R i g h t s
A c t o f 1964, a s amended, 42 U.S.C. 2 0 0 0 e , e t s e q . , a g a i n s t t h e above-named
respondent.

          I f y o u c h o o s e t o commence a c i v i l a c t i o n , s u c h s u i t must be f i l e d i n
the   a p p r o p r i a t e C o u r t w i t h i n 90 d a y s o f y o u r r e c e i p t o f t h i s N o t i c e .

      The i n v e s t i g a t i v e f i l e p e r t a i n i n g t o y o u r c a s e i s l o c a t e d i n t h e EEOC
Chicago D i s t r i c t O f f i c e , Chicago, I L .

            T h i s N o t i c e s h o u l d n o t be t a k e n t o mean t h a t t h e D e p a r t m e n t o f
J u s t i c e h a s made a j u d g m e n t a s t o w h e t h e r o r n o t y o u r c a s e i sm e r i t o r i o u s .

                                                                                    Sincerely,

                                                                          J o c e l y n Samuels
                                                              Acting A s s i s t a n t Attorney General
                                                                    Civil/Rights Division

                                                              by

                                                                    Kalren L . F e r g u s o n       \
                                                            Supervisory C i v i l Rights Analyst
                                                             Employment L i t i g a t i o n S e c t i o n
c c : Chicago D i s t r i c t O f f i c e , EEOC
       C i t y of Chicago P o l i c e Dept.



                                                                                                                              EXHIBIT
